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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST




AMAZON WEB SERVICES, INC.,
                                                                       19-1796 C
                                                           Case No. ___________________
                Plaintiff,
                                                           Judge      ___________________
     v.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                Defendant.



                     PLAINTIFF’S MOTION FOR PROTECTIVE ORDER

          Pursuant to Paragraph 17 of Appendix C to the Rules of the United States Court of Federal

 Claims, Plaintiff Amazon Web Services, Inc. (“AWS”) respectfully moves for a Protective Order

 in this matter consistent with the United States Court of Federal Claims Form 8, Protective Order

 in Procurement Protest Cases, to protect confidential, proprietary, and source selection

 information contained in the Complaint and other filings and hearing transcripts in this bid protest.

          The Complaint and related filings contain source selection sensitive information, as well

 as AWS’s proprietary information, trade secrets, and confidential financial information, the public

 release of which would cause either party severe competitive harm. The record in this bid protest

 likely will contain similarly sensitive information. Accordingly, AWS respectfully requests the

 Court GRANT this Motion.
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Dated:        November 22, 2019     Respectfully submitted,




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